Case 23-31039-mvl7           Doc 7     Filed 06/02/23 Entered 06/02/23 09:06:13     Desc Main
                                       Document     Page 1 of 4


Hudson M. Jobe
Quilling, Selander, Lownds, Winslett & Moser, P.C.
2001 Bryan Street, Suite 1800
Dallas, Texas 75201
(214) 871-2100 (Telephone)
(214) 871-2111 (Telefax)

ATTORNEYS FOR DEBTOR

                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

IN RE:                                               §
                                                     §
HIGHLAND SELECT EQUITY                               §
FUND GP, L.P.                                        §   CASE NO: 23-31039-mvl7
                                                     §   (Chapter 7)
DEBTOR.                                              §

              DEBTOR'S UNOPPOSED MOTION TO EXTEND
DEADLINE FOR FILING SCHEDULES AND STATEMENT OF FINANCIAL AFFAIRS

TO THE HONORABLE MICHELLE V. LARSON, U.S. BANKRUPTCY JUDGE:

         Highland Select Equity Fund GP, L.P. (the “Debtor”) files its Unopposed Motion to

Extend Deadline for Filing Schedules and Statement of Financial Affairs (collectively, the

“Schedules and Statements”) until June 16, 2023. In support thereof, the Debtor states as

follows:

                                             JURISDICTION

         1.      Pursuant to 28 U.S.C. §§ 1334 and 157, the Court has jurisdiction to hear this

Motion. Pursuant to 28 U.S.C. § 157(b)(2)(A) and (O) the Motion presents a core proceeding.




UNOPPOSED MOTION TO EXTEND DEADLINE FOR FILING SCHEDULES AND STATEMENT OF
FINANCIAL AFFAIRS - Page 1
Case 23-31039-mvl7        Doc 7    Filed 06/02/23 Entered 06/02/23 09:06:13            Desc Main
                                   Document     Page 2 of 4



                                        BACKGROUND

       2.       This case was commenced by the filing of a voluntary petition under Chapter 7 of

the bankruptcy Code on May 25, 2023 (“Petition Date”). The same day, an affiliate of the

Debtor filed a Chapter 7 bankruptcy case with the Northern District of Texas, Dallas Division: In

re Highland Select Equity Master Fund, L.P., Case No. 23-31037-swe7 (the “Highland Master

Fund Case”), which has been assigned to Judge Everett. Scott Seidel has been appointed Chapter

7 Trustee in both this case and the Highland Master Fund Case (the “Chapter 7 Trustee”).

       3.       Another affiliate of the Debtor has had a Chapter 11 bankruptcy case pending in

the Northern District of Texas, Dallas Division, before Chief Judge Jernigan for over 3 years: In

re Highland Capital Management, L.P., Case No. 19-34054-sgj11 (the “Highland Capital

Case”). The Highland Capital Case is a complex case that has over 3800 docket entries. The

Debtor and Highland Master Fund intend to request these Chapter 7 cases to be reassigned to

Judge Jernigan given her significant experience and institutional knowledge in the Highland

Capital Case.

       4.       Currently, the deadline for the Debtor to file its Schedules and Statements is June

8, 2023. This case was filed on a somewhat expedited basis and the Debtor is still in the process

of preparing the Schedules and Statements.

       5.       The 341 meeting is set for June 20, 2023. The Debtor and counsel are diligently

working on the Schedules and Statements and require additional time to complete before the

current deadline of June 8, 2023. The Debtor has conferred with the Trustee, and the Trustee

does not oppose an 8-day extension of the deadline to file schedules and statements to June 16,

2023, which is 4 days before the 341 meeting.




UNOPPOSED MOTION TO EXTEND DEADLINE FOR FILING SCHEDULES AND STATEMENT OF
FINANCIAL AFFAIRS - Page 2
Case 23-31039-mvl7          Doc 7   Filed 06/02/23 Entered 06/02/23 09:06:13           Desc Main
                                    Document     Page 3 of 4



                                         RELIEF REQUESTED

        6.       Pursuant to Bankruptcy Rules 1007(b) and (c), the Debtor is required to file

schedules and statements within fourteen days after the chapter 11 filing. As stated, the original

due date for the schedules and statements is June 8, meaning that in order to prepare the

schedules and statements, the Debtor must gather and synthesize information from books,

records, and documents in a relatively short period of time.

        7.       The Debtor is diligently working on the schedules and statements but requests

additional time to obtain the necessary information to complete them.

        8.       The Court has authority to grant an extension of the time for the filing of

Schedules and Statements under Bankruptcy Rule 1007(c).

        9.       This Motion requests an extension of time to file the Schedules and Statements to

June 16, 2023.

        10.      As stated above and set forth in the certificate of conference below, undersigned

counsel has conferred with the Trustee regarding the relief requested herein in accordance with

Local Rule 1007-1(b) and he is unopposed and agreeable to the requested extension.

        WHEREFORE the Debtor requests that the Court enter an Order Granting Extension of

Time to File Schedules of Assets and Liabilities, Statement of Financial Affairs, and Schedule of

Executory Contracts and Unexpired Leases, and Top 20 Creditors beyond the current 14-day

deadline, to and including June 16, 2023, without prejudice to the Debtor’s right to seek an

additional extension if cause so exists, and that the Court grant the Debtor such other and further

relief as is just and proper.




UNOPPOSED MOTION TO EXTEND DEADLINE FOR FILING SCHEDULES AND STATEMENT OF
FINANCIAL AFFAIRS - Page 3
Case 23-31039-mvl7       Doc 7    Filed 06/02/23 Entered 06/02/23 09:06:13            Desc Main
                                  Document     Page 4 of 4



                                             Respectfully submitted,

                                             QUILLING, SELANDER, LOWNDS, WINSLETT
                                             & MOSER, P.C.
                                             2001 Bryan Street, Suite 1800
                                             Dallas, Texas 75201
                                             (214) 871-2100 (Telephone)
                                             (214) 871-2111 (Facsimile)

                                             By: /s/ Hudson M. Jobe
                                                Hudson M. Jobe
                                                State Bar No. 24041189

                                             ATTORNEYS FOR DEBTOR



                             CERTIFICATE OF CONFERENCE

        I hereby certify that on June 1, 2023, I conferred with Scott Seidel and was advised that
the Trustee is unopposed to an extension of time to file the Schedules and Statements in this case
to June 16, 2023.

                                                    /s/ Hudson M. Jobe
                                                    Hudson M. Jobe



                                CERTIFICATE OF SERVICE

       I hereby certify that on June 2, 2023, a true and correct copy of the foregoing document
was served via ECF electronic filing.

                                                     /s/ Hudson M. Jobe
                                                    Hudson M. Jobe




UNOPPOSED MOTION TO EXTEND DEADLINE FOR FILING SCHEDULES AND STATEMENT OF
FINANCIAL AFFAIRS - Page 4
